Case 6:24-bk-03843-LVV Doc 31 Filed 09/13/24 Page 1 of 7

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pebtor ~«=—Ss Chaim Levilev . FILED VIA MAI
First Name Middle Name Last Name

Debtor 2

(Spouse If filing) FirstName — - Middle Name . Last Name - S -
EP 13 2024
United States Bankruptcy Court for the: Middle District of Florida : ,

case number 6:24-Dk-03843-LVV . a CLERK U.S. BANKRUPTC:
(fino) ORLANDO DIMA Sfeay "this is an

amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
LJ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
LI Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company: with whom you have the contractorlease..". _—_-_ State what the contract or lease is for”.

AMERICAN GREDIT ACCEPTANCE . . AUTOMOBILE
Name FINANCING
961 E MAIN STREET

Number Street
SPARTANBURG SC 29302
City State ZIP Code

[}

Name

Number Street

City : State ZIP Code

Name

Number Street

City State ZIP Code

Name

Number Street

City State ZIP Code

26

Name

Number Street

City _ ~ State ZIP Code

Official Form 106G / Schedule G: Executory Contracts and Unexpired Leases page 1 of ___
Case 6:24-bk-03843-LVV Doc 31 Filed 09/13/24 Page 2 of 7

Debtor 1 Chaim Levilev

6:24-bk-03843-LVV

Case number (if known)

First Name

Middle Name

Last Name

a Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

What the contract or lease is for

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

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Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

Official Form 106G

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State

RTPA TE OBA EMP NRE ATE TTT NRE ATER: ORY TSE ASIEN 3

RP erie

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

Case 6:24-bk-03843-LVV Doc 31 _ Filed 09/13/24 Page 3of7

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Debtor 1 Chaim Levilev

First Name Middle Name Last Name

Debtor 2
{Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle. District of Florida
Case number 6:24-bk-03843-LVV

{if known)

L) Check if this is an

amended filing

Official Form 106H
Schedule H: Your Codebtors

12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and

case number (if known). Answer every question.

4. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

iJ No
LI Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property stafes and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.) .

WY No. Go to line 3. .
U Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
LI No

C) Yes. in which community state or territory did you live? . Fitlin the name and current address of that person.

Name of your spouse, former spouse, or legal equivalent

Number Street

City . State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

" Check ali schedules that apply:

Column 1: Your codebtor sot ao re , > Column 2:7 he creditor to whom you owe the debt

3.1 .
() Schedule D, line
Name
Q) Schedule E/F, line
Number Street (J Schedule G, line
City State ZIP Code
3.2 ‘
(} Schedule D, line
Name To
UJ Schedule E/F, line__
Number Street Q) Schedule G, line
City State ZIP Code
3.3
QO) Schedule D, line
Name
Q) Schedule E/F, line
Number Street Q) Schedule G, line
City — State ZIP Code

Official Form 106H Schedule H: Your Codebtors page 1 of___
Case 6:24-bk-03843-LVV Doc 31 Filed 09/13/24 Page 4of7

Debtor 1 Chaim Levilev Case number (itknown 6:24-bk-03843-LVV
First Name Middle Name Last Name
BE 2scivicnai Page to List More Codebtors
Column 1:Yourcodebtor ee Column 2: The creditor to whom you owe the debt
. ~ Check.all schedules that appiy: ~~
3
(CY Schedule D, line
Name
(2 Schedule E/F, line
Number Street CJ Schedule G, line
City State ZIP Code
P|
Q) Schedule D, line
Name
CI Schedule E/F, line
Number Street UO) Schedule G, line.
City - State ZIP Code
“|
(] Schedule D, line
Name
QQ Schedule E/F, line
Number Street (2 Schedule G, line
City State ZIP Code
|
CQ) Schedule D, line
Name
{3 Schedule E/F, line
Number Street CQ) Schedule G, line
City State ZIP Code
|
{) Schedule D, line
Name Oe
Q) Schedule E/F, line
Number Street CJ Schedule G, line
City State ZIP Code
P|
LJ Schedule D, line
Name _
Q Schedule E/F, line
Number Streat C} Schedule G, line
City State ZIP Code
|
QQ Schedule D, line
Name —__
{) Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code.
pa]
C) Schedule D, line
Name
() Schedule E/F, line
Number Street (2 Schedule G, line
City State ZIP Cede

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Official Form 106H Schedule H: Your Codebtors page. of

Case 6:24-bk-03843-LVV Doc 31. Filed 09/13/24 Page 5 of 7

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Debtor 1 Chaim Levilev

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida
Case number 6:24-bk-03843-LVV LI Check if this is an

(if known) amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 42/15

Be as complete and accurate as possible. If two married peopie are filing together, both are equally responsible for supplying correct
information. Fill out ail of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
. your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

ta. Copy line 55, Total real estate, from Schedule A/B oo... ccscccesccesets sete ensececeseteesseeseenssnseeaasnosuenseseueseueasepscessaneseeaususeanerees $ _—342,500.00_

1b. Copy line 62, Total personal property, from Schedule A/B........cccccscsecsccceececnesseeseeneeesnssessteneneneenenverseeeesseseseusunasenseteneeses $ 1,159,800.00

1c. Copy line 63, Total of all property on Schedule A/B

i Summarize Your Liabilities

s_1,502,300.00

Your liabilities
‘Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ __ $44,227.00.
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 30.000.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........cessssesseeeseesnseeeseeees see
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F «0... essences + 346,235.23
Your total liabilities $ 420,462.23
Summarize Your Income and Expenses
4. Schedule I: Your Income (Official Form 1061)
$ 3,500.00
Copy your combined monthly income from line 12 of Schedule I oo......seccscsceseses sete ceeseneeeseesseeceseeessssaeseansesnsnaseeanesseaeseesenees
5. Schedule J: Your Expenses (Official Form 106J) 1
Copy your monthly expenses from line 22¢ Of SCHEGUIC Uo... ese ceecesessceseseseeeeeseeeneeceeneeteeereueseacaestsdnsessueaasesensseaeaaseesnseescoeer® $ ___ 10,120.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

Case 6:24-bk-03843-LVV Doc 31 Filed 09/13/24 Page 6of7

Debtor 1 Chaim Levilev Case number (ifknown) 6:24-bk-03843-LVV

First Name Middie Name Last Name

RZ answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

CJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

7. What kind of debt do you have?

CD Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out fines 8-9g for statistical purposes. 28 U.S.C. § 159.

Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official
Form 1224-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 3,285.66

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F-

Tota! claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 30,000.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy tine 6f.) $ 0,00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy fine 6h.) +3 0.00
9g. Total. Add lines 9a through 9f. $ 30,000.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Case 6:24-bk-03843-LVV Doc 31. Filed 09/13/24 Page 7 of 7

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Debtor 1 Chaim Levilev

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida
Case number _§:24-bk-03843-1 VV

(If known)

CL) Check if this is an

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

ee «i Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Wf No

Ld Yes. Name of person, . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

Signature (Official Form 119).

Under penaity of pi perjury, | dec sre that | have read the summary and schedules filed with this declaration and
that they are trye and correct/

/ il

x x

Sighature of ZL Signature of Debtor 2

Date A | lo / 24 Date

MM/ DD ff YYYY MM/ DD / YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules

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